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IN THE UNITED sTATEs DIsTRIcT coURT F"ED BY ulVM- D-O-
FoR THE WESTERN DISTRICT oF TENNESSEE
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LEcTRoLARM cUsToM sERvIcEs, UU"?-'-Q[‘°Eii?-COUHT
Y\.'{J ;‘ § .‘~.\'.-n:.'H'ES
INC¢ l
Plaintiff,
v. No. 03-2330 Ma/A

VICON INDUSTRIES, INC.,
et al.,

Defendants.

 

ORDER DENYING DEFENDANT VICON INDUSTRIES, INC.’S MOTION TO STAY

 

Before the court is defendant Vicon Industries, Inc.’s
(“Vicon”) “Motion to Stay Action Pending Patent Reexamination,”
filed on behalf of all defendants (the “Defendants”) on March 4,
2005. Plaintiff Lectrolarm Custom Systems, Inc. (“Lectrolarm”)
filed a response on March 22, 2005. Vicon filed a reply brief on
April 18, 2005, in which it also requested an oral hearing on the
motion. For the following reasons, Vicon's motion to Stay is DENIED
and its request for an oral hearing is DENIED.

I. Factual Background

On November 27, 1990, the United States Patent and Trademark
Office (“PTO”) issued U.S. Patent NO. 4,974,088 (the “‘088
Patent”), entitled Remote Control Apparatus for a Rotating
Television Camera Base, to inventor Takeshi Sasaki. The technology

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at issue is an apparatus that uses computer memory and digital
communication to permit remote control “rotation of a monitoring
television camera in the horizontal and vertical directions.” U.S.
Patent No. 4,974,088, Column 1:6-8. The patent was originally
assigned. to Maruwa Electronic & Chemical Company. (“Maruwa”).
Maruwa assigned the patent to Lectrolarm. Lectrolarm alleges that
the defendants have infringed the ‘088 patent.1

On January 28, 2005, Vicon filed in the United States Patent
and Trademark Office (the “PTO”) a request for reexamination of the
‘088 Patent. (Def.'s Mem. at 1.) The request for reexamination is
based on prior art consisting of printed publications for two
products: the VPSlZOO system made by Vicon and the Sensorvision
product made by Sensormatic Electronics Corporation
(“Sensormatic”). (Id. at 4.) This prior art was not considered by
the PTO when it granted the ‘088 Patent, although both products,
and presumably the publications describing them, have been
available for over 15 years. (Pl.’s Resp. at 3.) The prior art
products described in these publications are also the subject of
two summary judgment motions for invalidity that were filed in this
case on September 24, 2004, and November 19, 2004. Both Vicon and
Sensormatic contended in letters to Lectrolarm in 2000 that these
publications are invalidating prior art. (Id. at 4 (citing letters

between the parties' attorneys).)

 

1 .
Originally there were fourteen defendants; four remain.

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The PTO granted Vicon’s request for reexamination of the ‘088
Patent. (Def.’s Reply Brief.) The PTO found “a substantial
likelihood that a reasonable examiner would consider the teachings
of the newly cited prior art important in deciding whether or not
the claims are patentable.” (Laurenzi Dec., Ex. A at 2.)

The complaint in this case was filed on May 8, 2003. A trial
date of September 19, 2005, was set on November 30, 2004. Discovery
concerning expert witnesses closed on May 6, 2005, and fact
discovery closed on January 17, 2005. Lectrolarm estimates that
over $10 million has been spent by the defendants litigating this
suit so far. (Pl.'s Resp. at 5.)

II. Patent Reexamination Background

“Any person at any time may file a request for reexamination
by the [Patent] Office of any claim of a patent. . . .” 35 U.S.C.
§ 302. A reexamination request may only be based on “prior art
consisting of patents or printed publications.” 35 U.S.C. § 301.
“Within three months following the filing of a request for
reexamination . . . the Director will determine whether a
substantial new question of patentability affecting any claim of
the patent concerned is raised by the request." 35 U.S.C. § 303(a).
“If .. . a substantial new question of patentability affecting any
claim of a patent is raised, the determination will include an
order for reexamination of the patent. . . . The patent owner will

be given . . . not less than two months . . . within which he may

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file a statement on such question. . . . [The person who requested
reexamination then has two months to] file and have considered in
the reexamination a reply to any statement filed by the patent
Owner.” 35 U.S.C. § 304.

If, however, litigation has been stayed for the filing of a
reexamination request, the examination following the statement by
the patent owner and the reply by the requester “will be expedited
to the extent possible."2 M.P.E.P. § 2286. Office actions in these
reexamination proceedings will normally set a shorter one-month
statutory period for response rather than the two months usually
set in reexamination proceedings. ld;

“After the times for filing the statement and reply . . . have
expired, reexamination will be conducted according to the
procedures established for initial examination. . . .” 35 U.S.C.A.
§ 305. The patent owner may appeal . . . and may seek court review

[of] any' decision adverse to the patentability' of any
original or proposed. amended or new clain1 of the patent [as
provided by the patent statute for appeal and court review of
initial patent examination proceedings].” 35 U.S.C. § 306. “All
reexamination proceedings . . . including any appeal to the Board

of Patent Appeals and Interferences, will be conducted with special

 

2The M.P.E.P. regulations actually state that the reexamination.proceedings
will be expedited if the request for reexamination indicates that litigation has
been stayed. The court assumes that if the PTO is informed that litigation has
been stayed after the request for reexamination.was filed the examiner will adopt
the expedited time table.

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dispatch within the Office.” 35 U.S.C. § 305. “[W]hen the time for
appeal has expired or any appeal proceeding has terminated, the
Director will issue and publish a certificate canceling any claim
of the patent finally determined to be unpatentable, confirming any
claim of the patent determined to be patentable, and incorporating
in the patent any proposed amended or new claim determined to be
patentable.” 35 U.S.C. § 307(a).

“Congress intended the reexamination process to provide an
efficient and relatively inexpensive procedure for reviewing the
validity of patents which would employ the PTO's expertise.”
Ethicon, Inc. v. Quigg, 849 F.2d 1422, 1426 (Fed. Cir. 1988).
Reexamination permits “efficient resolution of questions about the
validity of issued patents without recourse to expensive and
lengthy infringement litigation” and allows the validity of a
patent to be “tested in the Patent office where the most expert
opinions exist.” H.Rep. 1307(I), 96th Cong., 2d Sess. 4, reprinted
in 1980 U.S. Code Cong. & Admin. News 6460, 6463.

III. Analysis

The decision to stay a case pending the conclusion of a patent
reexamination is at the discretion of the trial court. §;higggL
Inc. v. ui , 849 F.2d 1422, 1426-27 (Fed. Cir. 1988) (citing
Landis v. North American Co., 299 U.S. 248, 254 (1936)). Courts
have found that issuing a stay pending the outcome of a

reexamination has many advantages, including:

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l. All prior art presented to the Court will have been
first considered by the PTO, with its particular
expertise.

2. Many discovery problems relating to prior art can be
alleviated by the PTO examination.

3. In those cases resulting in effective invalidity of
the patent, the suit will likely be dismissed.

4. The outcome of the reexamination may encourage a
settlement without the further use of the Court.

5. The record of reexamination would likely be entered at
trial, thereby reducing the complexity and length of the
litigation.

6. Issues, defenses, and evidence will be more easily
limited in pre-trial conferences after a reexamination.

7. The cost will likely be reduced both for the parties
and the Court.

§g§, e.g., Rath Gonnocci Revocable Livinq Trust v. Three M Tool &
Machine Inc., 68 U.S.P.Q.2d 1755, 1757 (E.D. Mich. 2003). Thus,
reexamination by the Patent Office, “if available and practical,
should be deferred to by the courts, especially where the
infringement litigation. is in the early' stages.” Gonnocci, 68
U.S.P.Q.Zd at 1757; see also Softview Computer Prods. Coro. v.
Haworthl Inc., 56 U.S.P.Q.2d 1633, 1635 (S.D.N.Y. 2000). But,
“[p]arties should not be permitted to abuse the process by applying
for reexamination after protracted, expensive discovery or trial
preparation.” Softview, 56 U.S.P.Q.Zd at 1635.

“In determining whether to stay litigation pending
reexamination by the PTO, courts generally consider the following

factors: (l) whether a stay would unduly prejudice or present a

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clear tactical disadvantage to the non-moving party;3 (2) whether
a stay will simplify the issues in question and trial of the case;
and (3) whether discovery is complete and whether a trial date has
been set.” Xerox Corp. v. 3Com Corp., 69 F.Supp.2d 404, 406-07
(W.D.N.Y. 1999); see also larget Therapeutics, Inc. v. SciMed Life
Systems, Inc., 1995 WL 20470 (N.D. Cal. 1995); GPAC. Inc. v. DWW
Enterprises. InC., 144 F.R.D. 60, 66 (D.N.J. 1992); United
Sweetener USA, Inc. v. Nutrasweet Co., 766 F.Supp. 212, 217 (D.
Del. 1991).

The Defendants argue that a stay should be granted based on
the second factor: whether a stay will simplify the issues in
question and trial of the case. Granting the Defendants' motion
could simplify the issues before the court because the PTO could
invalidate all the claims. The parties have presented data showing
that slightly more than 10% of completed reexaminations requested
by a third party result in cancellation of all claims at issue.
(Def.'s Mem., Ex. H (Ex Parte Reexamination Filing Data-March 31,
2004).) The data also shows that 30% of completed reexaminations

requested by third parties result in confirmation of all claims.

 

3The court does not address this factor in the body of the opinion because
it is inconclusive. The Defendants argue convincingly that Lectrolarm seeks only
money damages so Lectrolarm would not be prejudiced if the trial were delayed.
Lectrolarm argues, also convincingly, that because discovery is essentially
complete, and the average time for a reexamination is roughly one and a half
years, staying the case would require expensive discovery to account for factual
developments that occurred during the reexamination. To the extent that this
factor weighs in either party's favor it is in Lectrolarm's. Because the court
finds that the Defendants delayed requesting reexamination and, could have
prevented any prejudice to Lectrolarm by requesting reexamination in a more
timely fashion, any prejudice to Lectrolarm should be avoided.

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(Id.) In slightly fewer than 60% of these types of reexaminations
the claims are modified in some way, but not all claims are
cancelled. Based on this data, there is roughly a 70% chance that
granting a stay will prevent the court from having to consider the
effect modifications made by the PTO may have on the court's
orders.4

The facts of this case, however, suggest that it is unlikely
that the PTO will rule in the Defendants' favor because the request
for reexamination appears to be nwtivated more by a desire for
tactical delay than a belief that the prior art cited in the
reexamination request is invalidating. If the Defendants had truly
believed that this prior art invalidates some or all of the ‘088
Patent's claims, it seems likely that the Defendants would have
requested reexamination one and a half years ago, before spending
millions of dollars on litigation. Further, reexamination only
deals with invalidity from printed prior art. Unless all claims
were invalidated, a result that has a one-in-ten probability, this
court would still need to deal with issues concerning other types
of prior art, liability, and damages.

Analysis of the third factor, whether discovery is complete

and whether a trial date has been set, points towards denying

 

4Even if no changes to the claim language result, the issues before the
court would be simplified because the PTO's assessment of the prior art in the
reexamination request would prevent the court from having to decide parts of the
two summary judgment motions based on that prior art. The court, however, would
still need to consider the sale or offer-for-sale portions of those motions.

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Vicon's motion to stay. At the time the request for reexamination
was filed, on January 28, 2005, a trial date of September 19, 2005,
had been set on November 30, 2004, and fact discovery had closed on
January 17, 2005.5 Thus, Vicon's request for reexamination was
filed at the close of fact discovery, over a year and a half after
the complaint in this case had been filed and two months after a
trial date had been set.

When a petition for reexamination is filed after a trial date
has been set, extensive discovery has been conducted, and the
reexamination does not involve newly discovered prior art, courts
uniformly refuse to stay the case pending reexamination. §§e, e. .,

Xerox, 69 F.Supp.Zd 404 (refusing to grant a stay where a request

 

for reexamination was filed one and a half years into a lawsuit,
six months before discovery was to close, and there was evidence
that the defendant had known of the allegedly invalidating prior
art eight months before filing the request); Galdish v. Tvco Tovs,
lng;, 1993 WL 625509 (E.D. Cal. Sept. 15, 1993) (refusing to grant
a stay where there was evidence that the party requesting
reexamination had known about the prior art in question for six
months before filing the reexamination request); Remington Arms

Co., Inc. v. Modern Muzzleloadinq, Inc., 1998 WL 1037920 (M.D.N.C.

 

5The September 19, 2005, trial date will need to be reset. This fact,
however, has no bearing on the court's analysis of the third factor considered
in deciding whether to stay litigation pending reexamination because the court's
main concern is whether the reexamination.process is being abused. gee Softview,
56 U.S.P.Q.Ed at 1635. Thus, the relevant trial date is the date set when the
reexamination request was filed, not the date the trial actually occurs.

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Dec. 17, 1998) (finding that the “most compelling reason for
denying the stay” was the “unjustified delay” in requesting
reexamination more than three months after learning of the
allegedly invalidating' prior art). Output Technologv Corp. v.
Dataproducts Corp., 22 U.S.P.Q.2d 1072 (W.D. Wash. 1991)(denying a
motion to stay pending reexamination when discovery was scheduled
for completion in four months and trial was scheduled in less than
nine months); Accent Desiqns. Inc. v. Jan Jewelrv Designsl Inc.,
1994 WL 121673, at *3 (S.D.N.Y. Apr. 6, 1994) (“in a case such as
this, in which multiple opinions have been issued, discovery is
well under way and no prejudice to either party is likely to ensue,
there is simply no justification for further delay in the action”).

The Defendants cite a number of cases for the proposition that
stays for reexamination are routinely granted by trial courts after
extensive litigation has already occurred. All cases that the
defendants cite in support of this proposition, however, are
readily distinguishable. In.§ggggggi, 68 U.S.P.Q.2d 1755, the court
granted a stay after extensive discovery had been conducted and a
trial date had been set. The court, however, explicitly stated that
it could not find that the party seeking reexamination had delayed
because nothing in the record indicated when that party had become
aware of the allegedly invalidating prior art. ld; at 1758. In this
case it is undisputed that the Defendants were aware of the prior

art cited in their request for reexamination and its relevance to

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Lectrolarm’s claim of infringement at least five years before they
filed their request. Similarly, the court's decision to grant a
stay one month before trial in Robert H. Harris Co., Inc. v. Metal
Mfg. Co., Inc., 19 U.S.P.Q.2d 1786 (E.D. Ark. 1991), can be
distinguished because the court found that the parties had not
participated in protracted or expensive discovery and the prior art
cited in the reexamination request was “recently discovered.” ;g;
at 1788-89. Likewise, in Gravling Industries. Inc. v. GPAC, Inc.,
19 U.S.P.Q.2d 1872 (N.D. Ga. 1991), “the prior art on which the
petition [for reexamination was] based was uncovered during
discovery." ldg at 1874. Finally, Middleton. Inc. v. Minnesota
Mining and Mfg. Co., 2004 WL 1968669 (S.D. Iowa Aug. 24, 2004), is
distinguishable because the court's grant of a stay after 8 years
of litigation was motivated by the fact that the validity of the
patent that was the subject of the reexamination had only recently
become an issue in the case.6

Finally, and most significantly, granting Vicon’s motion to
stay would impermissibly permit Vicon to abuse the reexamination
process. The Defendants were aware of the allegedly invalidating
prior art that is central to their request for reexamination long
before they actually submitted the request to the PTO. The prior

art cited in the reexamination request forms the basis of two

 

6The defendants also cite Snyder Seed Corp. v. Scrvoton Svstems¢ Inc. , 52
U.S.P.Q.2d 1221 (w.D.N.Y. 1999). In that case, however, the court granted a stay
because “ [n]o discovery has been conducted. In fact, no scheduling order has been
entered." Ld._ at 1224.

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summary judgment motions filed with this court on September 24,
2004, and November 19, 2004. In fact, defendants Sensormatic and
Vicon alleged in 2000 that this prior art anticipated the ‘088
Patent. (Pl.'s Resp., Ex. 4, 5 (Letters dated in 2000 from Vicon
and Sensormatic respectively alleging that the VPS 1200 Instruction
Manual and a brochure for the SensorVision System are prior art
that invalidate the ‘088 Patent).) There is no reason that Vicon
could not have requested a reexamination months or years earlier.
Consequently, staying the case at this point in the litigation
would permit Vicon to “abuse the process by applying for
reexamination after protracted, expensive discovery or trial
preparation.” Softview, 56 U.S.P.Q.2d at 1635.

Not staying the case pending reexamination raises one
additional issue: the possibility that this court and the PTO will
render contradictory decisions. The Federal Circuit has held that
inconsistency between the two forums is not a serious concern:

The awkwardness presumed to result if the PTO and court

reached different conclusions is more apparent than real.

The two forums take different approaches in determining

invalidity and on the same evidence could quite correctly

come to different conclusions. . . . Once again, it is

important that the district court and the PTO can

consider different evidence. Accordingly, different

result between the two forums may be entirely reasonable.
Ethicon, 849 F.2d at 1428.

The easier course for the court would be to stay the action.

That, however, would reward the Defendants' unexplained, and

seemingly'unexplainable, delay in filing the reexamination request.

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As the court in Enprotech Corp. v. Autotech Co;p., 15 U.S.P.Q.2d

1319 (N.D. Ill. 1990) stated, “[w]e are too far along the road to
justify halting the journey while the defendant explores an
alternate route. The motion to stay is denied.” ldg at 1320.

The Defendants have also requested an oral argument on the
motion to stay. The law is clear: a decision to grant a stay is at
the discretion of the trial court based on the facts before the
court. The court's decision to deny the motion to stay is based
largely on the fact that the Defendants have alleged for five years
that the prior art cited in the reexamination request is
invalidating, but waited until the close of fact discovery to
request reexamination. This fact is uncontroverted. Letters between
the parties in 2000 show that, from the nwment a lawsuit was
threatened, Vicon and Sensormatic alleged that this prior art could
be used as a defense to Lectrolarm's infringement claims. Because
the legal issues are clearly identified, and the key facts are
uncontested, the court finds that holding an oral argument on the

motion to stay would be unproductive.

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VI. Conclusion

For the foregoing reasons, defendant Vicon's motion to stay

on behalf of all defendants is DENIED.

so 0RDERED this |5(’ day of september 2005.

y/M._`

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Erik G. SWenson
B/[ERCHANT & GOULD PC
80 S. Eighth St.

3200 IDS Center
Minneapolis7 MN 55402

Sean W. Gallagher

BARTLIT BECK HERMAN PALENCHAR & SCOTT
54 W. Hubbard St.

Ste. 300

Chicago, IL 60610

DeAnna Allen

DICKSTEIN SHAPIRO MORIN & OSHINSKY
2101 L Street7 N.W.

Washington, DC 20037--152

Michael J. SWeedler
DARBY & DARBY
805 Third Ave.

NeW York7 NY 10022

John C. Snodgrass

Dickstein Shapiro Morin & Oshinsky LLP
2101 L. Street, N.W.

Washington, DC 20037

Dipu A. Doshi

DICKSTEIN SHAPIRO MORIN & OSHINSKY
2101 L Street7 N.W.

Washington, DC 20037--152

.1 ames Edward Hanft
DARBY & DARBY
805 Third Ave.

NeW York7 NY 10022

CaSe 2:03-cv-02330-SH|\/|-cgc Document 437 Filed 09/01/05 Page 16 of 18 Page|D 816

Steven .1. Nachtwey

BARTLIT BECK HERMAN PALENCHAR & SCOTT
54 W. Hubbard St.

Ste. 300

Chicago, IL 60610

Douglas F. Halijan

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Kenneth Brothers

DICKSTEIN SHAPIRO MORIN & OSHINSKY
2101 L Street7 N.W.

Washington, DC 20037--152

Robert E. Craddock

WYATT TARRANT & CO1\/113S
P.O. Box 775000

1\/1emphis7 TN 38177--500

Rachel C. Hughey
B/[ERCHANT & GOULD PC
80 S. Eighth St.

3200 IDS Center
Minneapolis7 MN 55402

Paul F. Ware
GOODWIN PROC TER LLP

EXchange Place
Boston7 MA 02109--288

Lee A Goldberg
DARBY & DARBY
805 Third Ave.

NeW York7 NY 10022

.1 ohn .1. Mulrooney
CRONE & MASON, PLC
5100 Poplar Ave.

Ste. 3200

1\/1emphis7 TN 38137

Rebecca W. Bacon

BARTLIT BECK HERMAN PALENCHAR & SCOTT
54 W. Hubbard St.

Ste. 300

Chicago, IL 60610

CaSe 2:03-cv-02330-SH|\/|-cgc Document 437 Filed 09/01/05 Page 17 of 18 Page|D 817

Gianni Minutoli

DICKSTEIN SHAPIRO MORIN & OSHINSKY
2101 L Street7 N.W.

Washington, DC 20037--152

Albert L. Underhill
B/[ERCHANT & GOULD PC
80 S. Eighth St.

3200 IDS Center
Minneapolis7 MN 55402

Gary M. Hoffman

DICKSTEIN SHAPIRO MORIN & OSHINSKY
2101 L Street7 N.W.

Washington, DC 20037--152

David W. Whealan
Goodwin Procter LLP

599 Lexington Avenue
NeW York7 NY 10022

Laurence E. Fisher

DICKSTEIN SHAPIRO MORIN & OSHINSKY
2101 L Street7 N.W.

Washington, DC 20037--152

Alan E. Littmann

Bartlit Beck Herman Palenchar & Scott
Courthouse Place

54 West Hubbard Street

Suite 300

Chicago, IL 60610

.1 ohn C. Englander
GOODWIN PROC TER LLP
EXchange Place

Boston7 MA 02109--288

Kemper 13. Durand

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/1emphis7 TN 38103--552

Rachael Lea Leventhal

Dickstein Shapiro Morin & Oshinsky LLP
2101 L Street7 N.W.

Washington, DC 20037

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.1. Anthony DoWns
GOODWIN PROC TER LLP
EXchange Place

Boston7 MA 02109--288

Mark 1. Koffsky

GOODWIN PROC TER LLP
599 Lexington Ave.

NeW York7 NY 10022

Douglas C. Doskocil
GOODWIN PROC TER LLP
EXchange Place

Boston7 MA 02109--288

Earle J. SchWarZ
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/1emphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

